                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:06-00031-18
                                           )        JUDGE CAMPBELL
ROBERTO MANIER                             )


                                           ORDER


       Pending before the Court is a Motion to Transfer Case (Docket No. 874). The Motion is

GRANTED.

       The revocation hearing/status conference scheduled for September 19, 2013, at 9:30 a.m.

is cancelled.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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